     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 1 of 21




            IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF PENNSYLVANIA

STACEY L. SCHMADER, et al.               :
                                         :
                     Plaintiffs          :
       v.                                : No. 1:20-cv-00067-JPW
                                         :
                                         :
THOMAS ALAN LINZEY, et al.               :
                                         :
                    Defendants.          :
                                         :

  DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO REMOVE
 DEFENDANTS FROM CELDF POSITIONS AND FOR NULLIFICATION
          OF BRANNEN EMPLOYMENT CONTRACT

      Defendants Thomas Linzey, Tammy Belinsky, Fred Walls, Edward Wells,

Community Environmental Legal Defense Fund (“CELDF”) and The Center for

Democratic and Environmental Rights (“CDER”) (collectively “Defendants”)

hereby respond to Plaintiffs’ Motion to Remove Defendants from CELDF Positions

and for Nullification of Brannen Employment Contract (“Motion”) as follows.

           OBJECTION TO PRO HAC VICE ADMITTED COUNSEL
                    REPRESENTING PLAINTIFFS

      1.     Defendants object to Kira Kelley, Esq.’s and Terry J. Lodge, Esq.’s

participation in this lawsuit as counsel for Plaintiffs. Both have signed this Motion

as legal representatives of Plaintiffs despite being attorneys officially working for

CELDF. Ms. Kelley and Mr. Lodge have acquired CELDF’s confidences through

their work for CELDF. They now oppose CELDF. Their conflicting roles allow
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 2 of 21




them on-going access to CELDF’s confidences, which they may then utilize to harm

CELDF. Their representation of Plaintiffs is an inherent, non-waivable conflict of

interest. Even if deemed waivable, CELDF does not consent. See Pa. R.P.C. 1.7(a)

(Conflict of Interest); Pa. R.P.C. 1.6 (Confidentiality of Information) and Pa. R.P.C.

1.8(b) (“A lawyer shall not use information relating to representation of a client to

the disadvantage of the client.”). See also Model Rules of Prof’l Conduct R. 1.7(a).

           RESPONSES IN OPPOSITION TO PLAINTIFFS’ MOTION

      1.     Admitted in part, denied in part. It is admitted that Thomas Linzey

resigned as Executive Director, except that the effective date was May 14, 2019. It

is further admitted that Mr. Linzey was rehired as Executive Director on December

1, 2019. Consistent with the Board Minutes from December 1, 2019, Mr. Linzey

“reaffirmed that he was willing to serve as Executive Director to assist with the

dissolution process.” (Pls. Ex. B., Bd. Minutes, Dec. 1, 2019.) All descriptions or

characterizations of the Board Meeting Minutes referenced in Paragraph 1 are denied

to the extent they differ from the terms of the document attached as Exhibit A to

Plaintiff’s Motion. The remainder of the allegations set forth in Paragraph 1 are

denied.

      2.     Admitted in part, denied in part. It is admitted that attorney Dan

Brannen agreed to serve both as CELDF’s Executive Director and as its Managing

Attorney through the process of dissolving CELDF.               All descriptions or


                                          2
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 3 of 21




characterizations of the document identified in this paragraph as Exhibit A set forth

in this paragraph are denied to the extent they differ from the terms of the document.

In further response to the allegations pertaining to the extension or alteration of Mr.

Brannen’s employment contract with CELDF, it is denied that Mr. Brannen and

CELDF are parties to any contract, as Mr. Brannen resigned from CELDF on April

25, 2020 before Plaintiffs’ Motion was filed. Accordingly, all factual averments and

legal arguments regarding the imposition of a financial burden on CELDF stemming

from a contract between Mr. Brannen and CELDF are moot and were moot when

Plaintiffs’ filed this Motion. Attached and incorporated as Exhibit A is a true and

correct copy of Mr. Brannen’s April 25, 2020 resignation email. Mr. Brannen wrote:

             Mr. Koller-- My character does not permit me to be a pawn
             for your clients’ and their allies’ rabid dishonesty and
             anarchy. The Directors do not deserve it. I will not ask
             them to suffer it for my pecuniary interest, they have done
             no wrong in contracting for my good and honest labor.
             Which I have delivered throughout, to this very week, your
             clients’ recent screed notwithstanding (I have the emails
             and documents to prove it).

             And thus, I am resigning my contract with CELDF,
             effective immediately.

             Tammy, Fred, Ed, I salute you for your service to CELDF
             (you too, Merrily). You volunteered for many decades of
             service between you. And the people you served are suing
             you? And want you to back off from an audit? Why, one
             must wonder? Anyway, the expense of my contract is no
             longer an impediment to the Court taking the time justice
             requires for this. I hope the Court will permit a full


                                          3
      Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 4 of 21




               independent audit before Directors who have served for
               decades resign their posts.

               Mr. Koller, please tell Stacey that while I am disappointed
               that she turned against me in the end, I know that in doing
               so, she like me and Thomas is the victim of a pack of dirty
               dogs (not you, sir, you are an honest lawyer doing your
               job). After all they did since the mid-nineties, neither
               Stacey nor Thomas deserved this ending. Perhaps I alone
               among all of us appreciate this.

               The rest of those around Stacey who attacked me in this
               process after I tried to mediate compromise? They are my
               enemies, forever. --Dan

(See Ex. A.) (emphasis added)

       As a result of Mr. Brannen’s resignation, no case or controversy existed at the

time Plaintiffs’ filed their Motion with respect to the relief they seek related to Mr.

Brannen.1




1
 At the time of filing this Response, which is 14 days after Plaintiffs filed their Motion, Plaintiffs
have not filed a mandatory brief in support of their Motion. Pursuant to Local Rule 7.5, their
Motion should be considered “withdrawn” and the relief they seek should be denied.

               Within fourteen (14) days after the filing of any motion, the party
               filing the motion shall file a brief in support of the motion. If the
               motion seeks a protective order, a supporting brief shall be filed with
               the motion. If a supporting brief is not filed within the time provided
               in this rule the motion shall be deemed to be withdrawn. A brief
               shall not be required: (a) In support of a motion for enlargement of
               time if the reasons for the request are fully stated in the motion, (b)
               In support of any motion which has concurrence of all parties, and
               the reasons for the motion and the relief sought are fully stated
               therein, or (c) In support of a motion for appointment of counsel.

L.R. 7.5 (emphasis added). Neither exceptions a, b nor c of this Rule apply. As such, by failing to
file a Brief, Plaintiffs’ Motion “shall be deemed to be withdrawn.”

                                                  4
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 5 of 21




      3.     Admitted in part, denied in part. It is admitted that Mr. Brannen

resigned as Executive Director of CELDF on December 1, 2019 but stayed on

CELDF’s payroll as Managing Attorney until April 25, 2020. All descriptions or

characterizations of the document identified in this paragraph as Exhibit B are denied

to the extent they differ from the terms of the document. In further response to the

allegations pertaining to the extension or alteration of Mr. Brannen’s employment

contract with CELDF, Defendants fully incorporate their response contained in

Paragraph 2. Accordingly, all factual averments and legal arguments regarding a

continuing contract between Mr. Brannen and CELDF are moot.

      4.     Admitted in part, denied in part. It is admitted that Mr. Linzey and

Daniel Brannen’s employment with CELDF continued after December 1, 2019. It

is denied that Mr. Linzey and Mr. Brannen’s work after December 1, 2019 was

confined to the sole purpose of dissolving CELDF or that Mr. Linzey or Mr. Brannen

did not perform any other substantive work for CELDF. In further response to the

allegations pertaining to the extension or alteration of Mr. Brannen’s employment

contract with CELDF, Defendants fully incorporate their response contained in

Paragraph 2. Accordingly, all factual averments and legal arguments regarding a

contract between Mr. Brannen and CELDF are moot.

      5.     Admitted in part, denied in part.      It is denied that Plaintiffs and

Defendants entered into an agreement to fully resolve all matters at issue in this


                                          5
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 6 of 21




litigation. It is admitted only that the parties attended a settlement conference with

the Honorable Martin C. Carlson, U.S.M.J. on February 20, 2020 and prepared a

Term Sheet at the mediation, which is not an agreement to fully resolve this

litigation. To the contrary, the first paragraph of the Term Sheet provides that “the

parties will cooperate to draft a general mutual release and hold harmless agreement

signed by all parties, individually and in their official capacities incorporating the

terms herein.” Moreover, the Term Sheet is not signed by the parties. By way of

further response, the latest revision of the Confidential Settlement Agreement was

provided by Defendants to Plaintiffs on April 3, 2020 (“April 3 Release”) – over a

month and a half ago - and it has not been executed despite Defendants’ request.

The April 3 Release circulated by Defendants fully incorporates and comports with

the Term Sheet. Accordingly, it is denied that the agreed terms and conditions were

reduced to an enforceable writing given Plaintiffs’ refusal to execute the April 3

Release, or that Defendants possess a copy of the writing containing the agreed terms

and conditions. It is further denied that the Term Sheet provided any detail about

the continuing of employment of Mr. Brannen (or any other contractor or contract

attorney).

      6.     Denied. All characterizations and descriptions of the terms of the

settlement of this matter are denied. It is denied that “both persons” referred to in

this paragraph were constructively terminated on February 20, 2020. By way of


                                          6
      Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 7 of 21




further response, Defendants have not taken any active steps to dissolve or wind

down CELDF, nor do Defendants plan or intend to do so given the parties reached

terms of settlement, as more fully detailed in the April 3 Release. Defendants

promised not to take any steps towards dissolution as part of their resolution of this

lawsuit during the February 20, 2020 settlement conference before the Honorable

Martin C. Carlson, U.S.M.J., and such promise was reduced to writing in the Term

Sheet and April 3 Release. Further, per the Term Sheet, Mr. Linzey is not set to

resign his employment until after execution of the settlement agreement.

Accordingly, no case or controversy existed at the time Plaintiffs’ filed their Motion

with respect to the relief they seek related to dissolution.

      7.     Denied. It is admitted only that the parties attended a settlement

conference with the Honorable Martin C. Carlson, U.S.M.J. on February 20, 2020

and prepared a Term Sheet at the settlement conference, which has been reduced to

the April 3 Release. All characterizations or descriptions of the results of the

Settlement Conference, Term Sheet or April 3 Release are denied. It is denied that

Defendants Belinsky, Walls, Wells, and non-defendant Merrily Mazza secretly

voted on any subject or passed a clandestine resolution.         All descriptions or

characterizations of the document identified in this paragraph as Exhibit C set forth

in this paragraph are denied to the extent they differ from the terms of the document.

By way of further response, CELDF requires a Managing Attorney, which is why


                                           7
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 8 of 21




Mr. Brannen’s employment was extended. In further response to the allegations

pertaining to the extension or alteration of Mr. Brannen’s employment contract with

CELDF, Defendants fully incorporate their response contained in Paragraph 2.

Accordingly, all factual averments and legal arguments regarding a contract between

Mr. Brannen and CELDF are moot. In further response, Defendants state that all

other current CELDF contractors and contracting lawyers received annual contract

renewals in January 2020.

      8.     Admitted in part, denied in part. It is admitted that Defendants Linzey,

Wells, Walls and Belinsky, and non-party Mazza signed Exhibit C. In further

response to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF, Defendants fully incorporate their response

contained in Paragraph 2. Accordingly, all factual averments and legal arguments

regarding a contract between Mr. Brannen and CELDF are moot.

      9.     Denied. It is denied that the document attached to Plaintiffs’ Motion as

Exhibit C explicitly alters Mr. Brannen’s compensation from a per-hour-worked or

work-product-produced basis to a fixed compensation arrangement. It is denied that

the document attached to Plaintiffs’ Motion as Exhibit C requires any act to occur

“automatically.” All descriptions or characterizations of the document identified in

this paragraph as Exhibit C set forth in this paragraph are further denied to the extent

they differ from the terms of the document. In further response to the allegations


                                           8
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 9 of 21




pertaining to the extension or alteration of Mr. Brannen’s employment contract with

CELDF, Defendants fully incorporate their response contained in Paragraph 2.

Accordingly, all factual averments and legal arguments regarding a contract between

Mr. Brannen and CELDF are moot.

      10.    Denied.     All descriptions or characterizations of the document

identified in this paragraph as Exhibit C are further denied to the extent they differ

from the terms of the document. In further response to the allegations pertaining to

the extension or alteration of Mr. Brannen’s employment contract with CELDF,

Defendants fully incorporate their response contained in Paragraph 2. Accordingly,

all factual averments and legal arguments regarding a contract between Mr. Brannen

and CELDF are moot.

      11.    Denied.     All descriptions or characterizations of the document

identified in this paragraph as Exhibit C are denied to the extent they differ from the

terms of the document. In addition, Defendants deny that the economic burden was

a “surprise,” particularly given all other current CELDF contractors and contracting

lawyers received annual contract renewals in January 2020. In further response to

the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF, Defendants fully incorporate their response

contained in Paragraph 2. Accordingly, all factual averments and legal arguments

regarding a contract between Mr. Brannen and CELDF are moot.


                                          9
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 10 of 21




      12.    Denied. Defendants are without sufficient knowledge to admit or deny

Plaintiffs’ statement regarding when they learned of the alleged contract. In further

response to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF, Defendants fully incorporate their response

contained in Paragraph 2. Accordingly, all factual averments and legal arguments

regarding a contract between Mr. Brannen and CELDF are moot.

      13.    Denied. Defendants are without sufficient knowledge to admit or deny

Plaintiffs’ statement regarding Plaintiff Schmader’s first notification of the alleged

contract. By way of further response, Plaintiff Schmader does not have a written

contract with CELDF, and therefore, it is specifically denied that she has official

responsibilities of maintenance and administration of contracts. In further response

to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF, Defendants fully incorporate their response

contained in Paragraph 2. Accordingly, all factual averments and legal arguments

regarding a contract between Mr. Brannen and CELDF are moot.

      14.    Admitted in part, denied in part. It is only admitted that Plaintiff

Schmader is responsible for carrying out various acts by order of the Board and

Executive Director, which she utterly failed to do. By way of further response,

Plaintiff Schmader does not have a written contract with CELDF, and therefore, it is

specifically denied that she has official responsibilities of attending and maintaining


                                          10
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 11 of 21




records of Board meetings. By way of further response, Defendants have recorded

and maintained Board Meeting Minutes in accordance with all applicable bylaws

and law. In further response to the allegations pertaining to the extension or

alteration of Mr. Brannen’s employment contract with CELDF, Defendants fully

incorporate their response contained in Paragraph 2.       Accordingly, all factual

averments and legal arguments regarding a contract between Mr. Brannen and

CELDF are moot.

      15.    Denied. Plaintiff Schmader does not have a written contract with

CELDF, and therefore, it is specifically denied that Plaintiff Schmader’s presence is

required for the Board to undertake any act. It is denied that Plaintiff Schmader’s

presence was a prerequisite to make Brannen’s alleged contract legally binding to

CELDF. By way of further response, Plaintiff Schmader became adversarial to

CELDF and Defendants by commencing this lawsuit, and therefore, her inherent

conflict of interest precluded her from attending Board meetings. In further response

to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF, Defendants fully incorporate their response

contained in Paragraph 2. Accordingly, all factual averments and legal arguments

regarding a contract between Mr. Brannen and CELDF are moot. By way of further

response, Plaintiffs failed to cite to any controlling legal authority for the

propositions set forth in this Paragraph of the Motion.


                                         11
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 12 of 21




      16.   Denied. It is denied that CELDF was obligated to undertake a $70,000

debt for no consideration through any action of the Board. It is denied that

Defendants’ conduct was ultra vires.         In further response to the allegations

pertaining to the extension or alteration of Mr. Brannen’s employment contract with

CELDF or with respect to the parties’ settlement, Defendants fully incorporate their

response contained in Paragraphs 2 and 5. Accordingly, all factual averments and

legal arguments regarding a contract between Mr. Brannen and CELDF are moot.

      17.   Denied. It is denied that the settlement conference conferred any right

to Plaintiffs to expect that Mr. Brannen’s employment with CELDF was terminated.

By way of further response, Plaintiff Schmader was well aware of Mr. Brannen’s

continued employment by CELDF, which predates the February 20, 2020 Settlement

Conference and, most certainly, filing of the present Motion. A true and correct

copy of emails exchanged between Ms. Belinsky, Mr. Brennan and Plaintiff

Schmader, dated December 3, 2019 to February 10, 2020 is attached as Exhibit B.

      On December 3, 2019, Mr. Brannen advised Ms. Schmader that he resigned

as Executive Director effective December 1, 2019 but would be continuing as

Managing Attorney, pursuant to Board resolution. (See Ex. B Dec. 3, 2019 email.)

Plaintiff Schmader responded and requested, “[c]an you please have a board member

send me minutes or something where your salary was voted on. I was never

informed of this and I need to have it for my records.” (Id.) On December 4, 2019,


                                        12
      Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 13 of 21




Defendant Belinsky wrote to Plaintiff Schmader and provided her with Board

Meeting Minutes and Mr. Brannen’s contract. (See id. Dec. 4, 2019 email.) Plaintiff

Schmader responded, “[t]hank you Tammy. This is what I needed.” (Id.) Mr.

Brannen then provided Plaintiff Schmader with a January invoice on February 3,

2020, and on February 10, he advised her that he “did not receive a retainer

replenishment in January, which you normally do.” (Id. Feb. 3 & 10, 2020 emails.)

Plaintiff Schmader responded, “received. I cut checks at the end of the month and

will include this.” (Id. Feb. 10, 2020 email.) At no time during this email exchange

did Plaintiff Schmader contest Mr. Brannen’s continued role and engagement as

CELDF Managing Attorney, despite that Plaintiffs already filed suit. Rather, on

April 17, 2020, after the parties agreed to material settlement terms, Plaintiffs

attempted to terminate Mr. Brannen’s engagement, feigning shock and awe over his

work, despite being well aware of it. (See id. April 17, 2020 email.)2


       2
           The parties resolved their dispute, and the material terms were reduced to a Term Sheet.
The current April 3 Release contains all agreed upon terms, including requisite settlement and
release provisions. Rather than executing the April 3 Release, Plaintiffs elected to file two serial
Motions, neither of which have a basis in fact or law. The contents of Defendants’ response to
Paragraph 17 of Plaintiffs’ Motion makes it patently evident that Plaintiffs have not brought the
instant Motion in good faith. Rather, Plaintiffs continue to frustrate the settlement process, despite
being warned against doing so by Judge Carlson. Plaintiffs’ undignified and wholly
unprofessional filings must stop so that the settlement all parties worked so hard to accomplish
can be effectuated rather than frustrated. Further filings by Plaintiffs will require Defendants to
consider all potential avenues of remedy, including those under Federal Rule of Civil Procedure
11 and those under the admitted attorneys’ respective jurisdictions that issued their licenses to
practice law. Finally, Plaintiffs vexatious filings – after settlement – expose them to personal
liability for the excess costs, expenses and attorneys’ fees incurred by Defendants in responding
to these baseless filings. See 28 U.S.C. § 1927. Defendants do not waive the protections of Section


                                                 13
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 14 of 21




       In further response to the allegations pertaining to the extension or alteration

of Mr. Brannen’s employment contract with CELDF or with respect to the parties’

settlement, Defendants fully incorporate their response contained in Paragraphs 2

and 5. Accordingly, all factual averments and legal arguments regarding a contract

between Mr. Brannen and CELDF are moot.

       18.    Denied. It is denied that an “interim settlement agreement” exists. It

is denied that the Term Sheet terminates Mr. Brannen’s employment. It is denied

that the Board “saddled CELDF with a $70,000.00 obligation.” It is denied that any

disclosure of the alleged contract between CELDF and Mr. Brannen was inadvertent.

In further response to the allegations pertaining to the extension or alteration of Mr.

Brannen’s employment contract with CELDF or with respect to the parties’

settlement, Defendants fully incorporate their response contained in Paragraphs 2

and 5. Accordingly, all factual averments and legal arguments regarding a contract

between Mr. Brannen and CELDF are moot.

       19.    Admitted in part, denied in part. It is admitted only that Defendants

Belinsky, Wells and Walls acted as members of the board of a Pennsylvania

nonprofit corporation in extending Mr. Brannen’s contract. It is denied that the act

of extending Mr. Brannen’s contract comprises a violation of the Board’s fiduciary




1927 but rather preserve same explicitly, to be formally asserted should Plaintiffs’ conduct not
cease immediately. Plaintiffs shall be guided accordingly.
                                              14
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 15 of 21




responsibility to CELDF. To the contrary, CELDF requires a Managing Attorney.

In further response to the allegations pertaining to the extension or alteration of Mr.

Brannen’s employment contract with CELDF, Defendants fully incorporate their

response contained in Paragraph 2. Accordingly, all factual averments and legal

arguments regarding a contract between Mr. Brannen and CELDF are moot.

      20.    Denied.    Defendants Belinsky, Wells and Walls have acted and

continue to act only in the utmost good faith in carrying out their wholly volunteer

obligations as Board Members. In further response to the allegations pertaining to

the extension or alteration of Mr. Brannen’s employment contract with CELDF or

with respect to the parties’ settlement, Defendants fully incorporate their response

contained in Paragraphs 2 and 5. Accordingly, all factual averments and legal

arguments regarding a contract between Mr. Brannen and CELDF are moot.

      21.    Denied. It is specifically denied that Defendants Belinsky, Walls or

Wells can be held personally liable for any conduct alleged in Plaintiffs’ Motion. In

further response to the allegations pertaining to the extension or alteration of Mr.

Brannen’s employment contract with CELDF or with respect to the parties’

settlement, Defendants fully incorporate their response contained in Paragraphs 2

and 5. Accordingly, all factual averments and legal arguments regarding a contract

between Mr. Brannen and CELDF are moot.




                                          15
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 16 of 21




      22.    Denied. It is specifically denied that Defendants Belinsky, Walls or

Wells, or non-party Merrily Mazza “willfully misconducted themselves” or violated

their fiduciary responsibility of good faith in any respect.        It is denied that

Defendants Belinsky, Walls or Wells secretly created or executed any document,

including the alleged “Brannen Contract Amendment.” It is specifically denied that

Defendants Belinsky, Walls or Wells knew or should have known that Mr.

Brannen’s employment was a term of the alleged settlement agreement, and

Plaintiffs failed to offer any proof in support of this allegation. In further response

to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF or with respect to the parties’ settlement,

Defendants fully incorporate their response contained in Paragraphs 2 and 5.

Accordingly, all factual averments and legal arguments regarding a contract between

Mr. Brannen and CELDF are moot.

      23.    Denied. It is denied that the alleged alteration or extension of Mr.

Brannen’s contract was without justification or comprised an undisclosed or

unexpected new financial burden on CELDF. It is denied that Defendants and

Mazza knew or should have known that alleged alteration and extension of Mr.

Brannen’s contract was without justification or comprised an undisclosed or

unexpected new financial burden on CELDF. To the contrary, CELDF requires a

Managing Attorney. It is denied that Defendants or Mazza altered or extended Mr.


                                          16
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 17 of 21




Brannen’s contract in secret. Further to this point, there is no legal requirement that

Ms. Schmader as Secretary-Treasurer be present at Board meetings. It is denied that

Defendants or Mazza knew or should have known that the alleged alteration or

extension of Mr. Brannen’s contract was an intentional and calculating move in

extreme bad faith to saddle CELDF with an unwanted $70,417.00 burden. It is

denied that any action by Defendants or Mazza wasted the assets of CELDF or that

Defendants actively undertook to destroy CELDF at any time. In further response

to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF or with respect to the parties’ settlement,

Defendants fully incorporate their response contained in Paragraphs 2 and 5.

Accordingly, all factual averments and legal arguments regarding a contract between

Mr. Brannen and CELDF are moot.

      24.    Denied. It is specifically denied that Defendants have willfully and

intentionally increased legal liabilities for CELDF. It is denied that Defendants’

actions have increased legal liabilities for CELDF that complicate Plaintiffs’ ability

to fulfill the terms or conditions of the settlement of this lawsuit. In further response

to the allegations pertaining to the extension or alteration of Mr. Brannen’s

employment contract with CELDF or with respect to the parties’ settlement,

Defendants fully incorporate their response contained in Paragraphs 2 and 5.




                                           17
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 18 of 21




Accordingly, all factual averments and legal arguments regarding a contract between

Mr. Brannen and CELDF are moot.

      25.   Denied. It is specifically denied that Defendants or Mazza have abused

or seriously abused their control over CELDF’s corporate decision making. It is

denied that Defendants or Mazza are waging a deliberate campaign to mismanage

or sabotage CELDF. It is denied that Defendants or Mazza have forfeited any further

privilege or right to hold positions of trust with CELDF. In further response to the

allegations pertaining to the extension or alteration of Mr. Brannen’s employment

contract with CELDF or with respect to the parties’ settlement, Defendants fully

incorporate their response contained in Paragraphs 2 and 5. Accordingly, all factual

averments and legal arguments regarding a contract between Mr. Brannen and

CELDF are moot.

      26.   Denied. Defendants are not obligated to provide the minutes of the

CELDF’s Board’s meetings until after execution of the April 3 Release. To the

contrary, upon information and belief, Plaintiffs seek production of the Board

Minutes before the April 3 Release has been signed in order to gain litigation

advantage over Defendants and in further effort to undermine settlement. Defendants

have recorded and maintained Board Meeting Minutes in accordance with all

applicable bylaws and law. It is denied that it is probable or foreseeable that

Defendants have committed or undertaken or will commit or undertake disreputable


                                        18
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 19 of 21




actions with the aim of wasting CELDF’s assets or debilitating its business

relationships. It is denied that Defendants’ departure from CELDF has been “tardy,”

as the prerequisites to their departure have not been accomplished as a result of

Plaintiffs’ delay in executing the April 3 Release. In further response to the

allegations pertaining to the extension or alteration of Mr. Brannen’s employment

contract with CELDF or with respect to the parties’ settlement, Defendants fully

incorporate their response contained in Paragraphs 2 and 5. Accordingly, all factual

averments and legal arguments regarding a contract between Mr. Brannen and

CELDF are moot.

      27.    Denied. Plaintiffs’ demand that this Court remove the members of

CELDF’s Board and Mr. Linzey is procedurally improper and without factual or

legal basis. In further response, Defendants note that Plaintiffs rely on the incorrect

bylaws, which were never properly adopted. The applicable bylaws do not give Ms.

Schmader in her capacity as Secretary-Treasurer the power to appoint directors.

Further, Plaintiffs’ suggestion that Secretary-Treasurer Plaintiff Schmader is entitled

to replace the Board members upon the removal of the existing Board demonstrates

that the instant Motion is a ham-handed attempt to essentially secure the adjudication

of this action in Plaintiffs’ favor without due process. Plaintiffs’ grasping attempt

to seize control of the CELDF Board through motion practice while the parties are




                                          19
     Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 20 of 21




in the final stages of settling this litigation should not be countenanced by this Court.

Accordingly, Plaintiffs’ Motion must be denied.

      WHEREFORE, Defendants Thomas Linzey, Tammy Belinsky, Fred Walls,

Edward Wells, Community Environmental Legal Defense Fund and The Center for

Democratic and Environmental Rights respectfully request this Honorable Court to

deny the Motion to Remove Defendants from CELDF Positions and for Nullification

of Brannen Employment Contract and to enter a corresponding Order in the form

attached as well as any further relief it deems appropriate.




                                           20
Case 1:20-cv-00067-JPW-KM Document 54 Filed 05/22/20 Page 21 of 21




 Respectfully submitted this 22nd day of May 2020,

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                                  21
